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                         UNITED STATES DISTRICT COURT
                             Southern District of Indiana
                                 Evansville Division
  ROBERT CHENAULT and                           )
  LANA CHENAULT                                 )
            Plaintiffs                          )
                                                )
                vs.                             )    CASE NO.: 3:12-cv-0144-RLY-WGH
                                                )
  JAMES GORIS, M.D.;                            )
  DEACONESS HOSPITAL, INC. d/b/a                )
  DEACONESS GATEWAY HOSPITAL;                   )
  ORTHOPAEDIC ASSOCIATES, INC.                  )
            Defendants                          )




                      ORDER OF DISMISSAL WITH PREJUDICE
          This matter is before the Court upon the Stipulation of Dismissal with Prejudice having
  been filed by counsel for the Parties.

         Having reviewed said motion, the Court does now grant the relief requested.

          IT IS THEREFORE ORDERED that any and all claims in the above-entitled cause of
  action shall be, and hereby are, dismissed with prejudice.


         SO ORDERED this ____         October
                         1st day of ___________________ 2014.



                                             ______
                                             JUDGE,__________________________________
                                                     United States District Court
                                             Southern District of Indiana – Evansville Division
                                                   RICHARD L. YOUNG, CHIEF JUDGE
                                                   United States District Court
                                                   Southern District of Indiana


   Distributed Electronically to Registered Counsel
                                             1      of Record
